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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


 ANN LEWANDOWSKI, on her own behalf,
 on behalf of all others similarly situated, and
 on behalf of the Johnson & Johnson Group
 Health Plan and its component plans,

                                                        Civil Action No. 24-671 (ZNQ) (RLS)
                          Plaintiff,
                                                                       ORDER
                          v.

 JOHNSON AND JOHNSON, et. al.,

                          Defendants.


 QURAISHI, District Judge

        THIS MATTER comes before the Court upon a Motion to Dismiss filed by Defendants

 Johnson and Johnson and the Pension & Benefits Committee of Johnson and Johnson (collectively,

 “Defendants”) (the “Motion,” ECF No. 51.) For the reasons set forth in the accompanying

 Opinion,

        IT IS on this 24th day of January 2025,

        ORDERED that Defendants’ Motion (ECF No. 51) is hereby GRANTED-IN-PART and

 DENIED-IN-PART as follows:

        •   GRANTED as to Counts One and Two. Those counts are dismissed without prejudice

            for lack of Article III standing.

        •   DENIED as to Count Three.

        •   Plaintiff has 30 days to file a Second Amended Complaint to remedy the issues

            identified in the Opinion.

                                                     s/ Zahid N. Quraishi
                                                     ZAHID N. QURAISHI
                                                     UNITED STATES DISTRICT JUDGE
